Case 1:10-cr-00809-KAM   Document 372   Filed 12/21/11   Page 1 of 66 PageID #: 1802



  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------X
  UNITED STATES OF AMERICA                       MEMORANDUM AND ORDER

             - against -                         10-cr-809 (S-3)(KAM)

  CHRISTOPHER BARRET et al.,
                 Defendants.
  ------------------------------------X
  MATSUMOTO, United States District Judge:

             Defendants Christopher Barret, Kareem Forrest, Ryan

  Anderson, Kerry Gunter, Charles Jones, Latoya Manning, Leon

  Scarlett and Omar Mitchell (collectively, “defendants”) are

  charged with various narcotics trafficking crimes in a third

  superseding indictment (the “Superseding Indictment”) filed on

  November 23, 2011.     (See generally ECF No. 304, Superseding

  Indictment (“S-3”).)     Pending before the court are the parties’

  motions in limine and renewals of certain motions previously

  denied by the court.     For the reasons set forth below, the court

  grants in part and denies in part the government’s motions in

  limine; denies Barret’s renewed motion to strike his aliases

  from the Superseding Indictment; and denies Anderson, Jones and

  Scarlett’s renewed motions for severance.




                                        1
Case 1:10-cr-00809-KAM   Document 372    Filed 12/21/11   Page 2 of 66 PageID #: 1803



                                  BACKGROUND 1

      I.   The Charges Against Defendants

              Count One of the Superseding Indictment charges Barret

  with knowingly and intentionally engaging in a continuing

  criminal enterprise in violation of 21 U.S.C. §§ 848(a) and (c) 2

  and 18 U.S.C. § 3551 et seq. 3        (S-3 ¶¶ 1–21.)     Count Two charges

  all defendants with conspiracy to distribute marijuana in

  violation of 21 U.S.C. §§ 841(b)(1)(A)(vii) 4 and 846, 5 and 18

  U.S.C. § 3551 et seq.      (Id. ¶ 22.)     Counts Three and Four charge

  Barret and Manning with maintaining and conspiring to maintain a

  stash house in violation of 21 U.S.C. §§ 846 and 856(a)-(b), 6 and


  1
    Because the court assumes the parties’ familiarity with the alleged facts
  underlying the Superseding Indictment as presented by the government and
  outlined by the court in its Memorandum and Order dated 11/16/2011, the court
  provides abbreviated background information here based on a sworn affidavit
  submitted by the government in support of its motions in limine. See United
  States v. Barret, No. 10-cr-809, --- F. Supp. 2d ---, 2011 WL 5579079, at *2-
  4 (E.D.N.Y. Nov. 16, 2011); ECF No. 339, Affidavit of Joelle Ando in Support
  of Motion for Anonymous and Partially Sequestered Jury (“Ando Aff.”).
  2
    21 U.S.C. § 848(a) makes it unlawful to engage in a continuing criminal
  enterprise. Under 21 U.S.C. § 848(c), an individual engages in a “continuing
  criminal enterprise” if he violates the felony drug laws as part of a
  “continuing series of violations” together with five or more persons who act
  in concert, and he is an organizer, supervisor, or other manager with respect
  to those individuals, and obtains “substantial income or resources” from the
  continuing series of violations.
  3
    18 U.S.C. 3551 et seq. generally provides penalties for offenses described
  in any federal statute.
  4
    Under 21 U.S.C. § 841(b)(1)(A)(vii), any violation of 21 U.S.C. § 841(a)(1)
  that involves “1000 kilograms or more of a mixture or substance containing a
  detectable amount of marijuana, or 1,000 or more marijuana plants regardless
  of weight” is punishable by a term of imprisonment of at least ten years, or
  at least twenty years “if death or serious bodily injury results from the use
  of such substance.”
  5
    21 U.S.C. § 846 provides that the penalties for conspiracy match those for
  the substantive underlying offense.
  6
    21 U.S.C. § 856(a) makes it unlawful to “knowingly . . . use[] or maintain
  any place . . . for the purpose of manufacturing, distributing, or using any
  controlled substance” or to “manage or control any place, . . . as a[] . . .

                                         2
Case 1:10-cr-00809-KAM   Document 372    Filed 12/21/11   Page 3 of 66 PageID #: 1804



  18 U.S.C. § 3551 et seq.       (Id. ¶¶ 23–24.)      Count Five charges

  Barret, Forrest, Anderson, Gunter, Jones, Manning and Scarlett

  with distributing or possessing with intent to distribute

  marijuana in violation of 21 U.S.C. §§ 841(a)(1) 7 and

  841(b)(1)(A)(vii), and 18 U.S.C. §§ 2 8 and 3551 et seq.               (Id. ¶

  25.)   Count Six charges Barret, Forrest, Anderson, Gunter,

  Jones, Scarlett and Mitchell with possessing, brandishing and

  discharging a firearm in relation to drug trafficking crimes in

  violation of 18 U.S.C. §§ 924(c)(1)(A)(i), 9 924(c)(1)(A)(ii),

  924(c)(1)(A)(iii), 2 and 3551 et seq.          (Id. ¶ 26.)       The

  Superseding Indictment also contains criminal forfeiture

  allegations pursuant to 21 U.S.C. §§ 853(a), (p); 10            18 U.S.C. §

  924(d); 11 and 28 U.S.C. § 2461(c). 12      (Id. ¶¶ 27–30.)


  lessee . . . or make available for use, with or without compensation, the
  place for the purpose of unlawfully manufacturing, storing, distributing, or
  using a controlled substance.”
  7
     21 U.S.C. § 841(a)(1) makes it unlawful for any person to “knowingly or
  intentionally . . . manufacture, distribute, or dispense, or possess with
  intent to manufacture, distribute, or dispense, a controlled substance.”
  8
     18 U.S.C. § 2 provides, in relevant part: “Whoever . . . aids, abets,
  counsels, commands, induces or procures [the] commission” of an act or
  “willfully causes an act to be done” against the United States is punishable
  as a principal.
  9
     Under 18 U.S.C. § 924(c)(1)(A)(i)-(iii), the use, possession, brandishment
  and discharge of a firearm in relation or in furtherance of a drug
  trafficking crime is punishable by a term of imprisonment of at least five
  years.
  10
      Under 21 U.S.C. § 853(a), any person convicted of the offenses charged in
  Counts One or Two of the Superseding Indictment must forfeit to the United
  States “any property constituting, or derived from, any proceeds the person
  obtained, directly or indirectly, as the result of such violation; any of the
  person’s property used, or intended to be used, in any manner or part, to
  commit, or to facilitate the commission of, such violation; and in the case
  of a person convicted of engaging in a continuing criminal enterprise . . .
  any of his interest in, claims against, and property or contractual rights
  affording a source of control over, the continuing criminal enterprise.” 21

                                        3
Case 1:10-cr-00809-KAM   Document 372    Filed 12/21/11   Page 4 of 66 PageID #: 1805



              The instant charges arise from defendants’ alleged

  activities in connection with a Jamaican gang known as the

  “Fatherless Crew,” of which Barret is allegedly the leader, or

  “Don.”    (See ECF No. 339, Affidavit of Joelle Ando in Support of

  Motion for Anonymous and Partially Sequestered Jury (“Ando

  Aff.”) ¶ 3.)    According to the government, the “Fatherless Crew”

  has a structured hierarchy; beneath the “Don,” there are many

  armed enforcers or soldiers, including Barret’s co-defendants.

  (Id. ¶ 5.)    Together, “Fatherless Crew” members allegedly

  “generate[] revenue through a variety of criminal endeavors--

  particularly narcotics trafficking[,] and routinely use

  firearms, violence and intimidation to preserve and expand their

  power.”    (Id.)

              The government asserts that the “Fatherless Crew” has

  nearly one hundred members in the United States, Jamaica, Canada

  and the United Kingdom, and more than a dozen members of the

  “Fatherless Crew” remain at large in the United States.               (Id.

  ¶ 4.)    Barret allegedly recruited at least fifteen crew members

  to illegally enter the United States from Jamaica and carry out



  U.S.C. § 853(p) provides that if, as a result of any act or omission of the
  defendant, property subject to forfeiture under subsection (a) is diminished
  in value or unavailable to the court, such property may be substituted by
  other property belonging to defendant.
  11
     18 U.S.C. § 924(d) provides for the seizure and forfeiture of any firearm
  involved in any knowing violation of 18 U.S.C. § 924.
  12
     Under 28 U.S.C. § 2461(c), if a defendant is convicted of an offense to
  which criminal forfeiture provisions apply, the court shall order the
  relevant forfeiture of property as part of the defendant’s sentence.

                                        4
Case 1:10-cr-00809-KAM    Document 372   Filed 12/21/11   Page 5 of 66 PageID #: 1806



  acts of violence in furtherance of his narcotics operation in

  Queens.    (Id. ¶ 6.)    The government also claims that even after

  leaving Jamaica, Barret continued to direct the criminal

  activities of the ‘Fatherless Crew’ in Jamaica.             (Id.)

  Specifically, Barret allegedly used proceeds from his Queens-

  based narcotics enterprise to finance ongoing operations of the

  ‘Fatherless Crew’ in Jamaica, and he smuggled weapons used by

  his United States-based enforcers into Jamaica for his crew

  members’ use and to ensure that the guns would not be traced to

  crimes committed in the United States.          (Id. ¶¶ 6-7.)

              The government’s affidavit in support of its motions

  in limine is unclear as to whether Barret continued to control

  the “Fatherless Crew” in Jamaica following his arrest on October

  7, 2010.    (Id.)   The affidavit demonstrates, however, that

  Barret and members of the “Fatherless Crew” who remain at large

  in the United States threatened potential government witnesses

  in the weeks and months following Barret’s arrest.              (Id. at ¶¶

  9-14.)

     II.    The Instant Motions

              The following is a summary of the pending motions,

  each of which the court will discuss in turn.

              The government moves: (1) to admit as direct evidence

  of the charged crimes (a) certain acts allegedly committed by


                                         5
Case 1:10-cr-00809-KAM   Document 372   Filed 12/21/11   Page 6 of 66 PageID #: 1807



  the defendants in furtherance of the conspiracy and

  (b) Forrest’s 2007 marijuana conviction; or in the alternative

  to admit such evidence pursuant to Federal Rule of Evidence

  404(b); (2) to admit, pursuant to Federal Rule of Evidence

  404(b), evidence relating to (a) defendants’ membership in the

  “Fatherless Crew” in Jamaica prior to moving to the United

  States, (b) Barret and Scarlett’s incarceration together with an

  individual named Clifton Williams in the General Penitentiary in

  Jamaica, (c) Barret’s 2003 attempt to shoot a rival drug dealer,

  which resulted in the death of an innocent bystander, and (d)

  defendants’ prior convictions for marijuana and firearms crimes,

  discussed in greater detail infra in Section III.B.3; (3) for

  leave pursuant to Federal Rule of Evidence 609 to cross-examine

  any defendants who elect to testify regarding their criminal

  convictions; and (4) for empanelment of an anonymous and

  partially sequestered jury.      (See ECF No. 299, Government’s

  Motions in Limine (“Gov’t Mem.”).)

             Barret renews his motion to strike from the

  Superseding Indictment references to his aliases, which the

  court initially addressed and denied in its November 16, 2011




                                        6
Case 1:10-cr-00809-KAM   Document 372   Filed 12/21/11   Page 7 of 66 PageID #: 1808



  ruling. 13   (See ECF No. 321, Letter Brief in Opposition by Barret

  (“Barret’s Second Opp’n”) at 1.) 14

               Anderson, Jones and Scarlett renew their motions for

  severance.     (See ECF No. 317, Memorandum of Law in Opposition by

  Leon Scarlett (“Scarlett Opp’n”) at 21-22; ECF No. 300, Motion

  in Limine by Ryan Anderson (“Anderson Mem.”) at 5-6; ECF No.

  322, Letter Brief in Opposition by Charles Jones (“Jones Opp’n”)

  at 1.)

                                  DISCUSSION

       I.   Motion in Limine

               The purpose of a motion in limine is to allow the

  trial court to rule in advance of trial on the admissibility and

  relevance of certain forecasted evidence.          Luce v. United

  States, 469 U.S. 38, 40 n.2 (1984); Palmieri v. Defaria, 88 F.3d

  136, 141 (2d Cir. 1996) (same); Nat’l Union Fire Ins. Co. v.

  13
    See ECF No. 289, Memorandum and Order dated 11/16/2011.
  14
    On November 28, 2011, the court granted all parties a one-week extension to
  file their respective oppositions to motions in limine in light of the then-
  recent filing of a third superseding indictment and an extension request from
  Barret’s counsel. (See Order dated 11/28/2011.) Because some defendants,
  including Barret, had already filed opposition papers (Barret’s first
  opposition submission is at ECF No. 310), the court specifically ordered that
  “to avoid piecemeal submissions, each party shall file only ONE brief in
  opposition on his or her own behalf. Therefore, for example, if Barret's
  counsel wishes to add to his current submission in opposition to the
  government’s motions in limine, he shall withdraw his current submission and
  submit a revised brief that incorporates all of his legal arguments . . . .”
  (Id.) Counsel for Barret disregarded the court’s orders and on December 4,
  2011, submitted the second part of his opposition to the government’s motions
  in limine, without withdrawing the first opposition submission or
  incorporating its contents into the second submission. Although the court is
  reluctant to review the piecemeal submissions submitted by Barret’s counsel
  in violation of the court’s unequivocal orders, the court will nevertheless
  do so in the interest of justice.

                                        7
Case 1:10-cr-00809-KAM    Document 372   Filed 12/21/11   Page 8 of 66 PageID #: 1809



  L.E. Myers Co. Grp., 937 F. Supp. 276, 283 (S.D.N.Y. 1996)

  (same).    “Evidence should be excluded on a motion in limine only

  when the evidence is clearly inadmissible on all potential

  grounds.”    United States v. Paredes, 176 F. Supp. 2d 179, 181

  (S.D.N.Y. 2001).       Indeed, courts considering a motion in limine

  may reserve decision until trial, so that the motion is placed

  in the appropriate factual context.         See Nat’l Union Fire Ins.

  Co., 937 F. Supp. at 287.       Further, the court’s ruling regarding

  a motion in limine is “subject to change when the case unfolds,

  particularly if the actual testimony differs from what was

  [expected].”    Luce, 469 U.S. at 41.

     II.    Admissibility of Proffered Evidence as Direct Evidence of
            Charged Crimes

              The government seeks to introduce as direct proof of

  the charged crimes evidence of: (1) Forrest’s 2007 conviction

  for possession of marijuana; (2) the 2009 attempted murder of a

  drug dealing rival by two of Barret’s soldiers at his behest, in

  which both the rival and the rival’s driver were shot;

  (3) Barret’s alleged issuance of a contract to murder Marlon

  Jones, his former drug trafficking partner, in retaliation for a

  perceived theft in 2009; (4) numerous other acts of violence

  that the defendants allegedly bragged about to co-conspirators

  to “enhance their stature within the narcotics organization”;

  and (5) various examples of criminal activity committed by


                                         8
Case 1:10-cr-00809-KAM   Document 372   Filed 12/21/11   Page 9 of 66 PageID #: 1810



  defendants and their associates that related to and occurred

  during the charged conspiracy, as detailed below in Section

  II.B.5.   (Gov’t Mem. at 9-21.)

             The government argues that because these violent acts

  were “part and parcel to the narcotics conspiracy and continuing

  criminal enterprise charged,” they are “highly probative of the

  existence of the conspiracy [and] the lengths that defendants

  would go to defend the drug trafficking operation.”             (Id. at

  17.)   In particular, the government contends that narcotics-

  related shootings that occurred during the timeframe of the

  charged conspiracy demonstrate “instances of the defendants

  brandishing and discharging firearms in furtherance of the

  operation of a narcotics trafficking conspiracy--the exact

  charge that is contained in Count Six of the superseding

  indictment.”    (ECF No. 336, Reply to Government’s Motion in

  Limine (“Gov’t Reply”) at 34.)        In addition, the government

  argues that the proffered evidence is relevant as direct

  evidence of Barret’s leadership of the continuing criminal

  enterprise, defendants’ participation in the conspiracy and

  their respective roles in the enterprise.          (See id. at 36-38.)

             Moreover, the government contends, the probative-

  prejudice balancing analysis required by Federal Rule of

  Evidence 403 favors admission of the evidence because the

  probative value of the uncharged crimes is great, particularly
                                        9
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 10 of 66 PageID #:
                                    1811


with respect to evidence of the defendants’ involvement in drug-

related shootings.       (Gov’t Mem. at 20.)    In addition, because

defendants are charged with discharging firearms in furtherance

of drug trafficking, the “government must be allowed to provide

evidence proving that the defendants took exactly those

actions.”    (Id.)   The government further argues that the

proposed evidence is not substantially outweighed by the danger

of unfair prejudice to the defendants because the evidence does

not involve conduct that is any more sensational or disturbing

than the crimes charged.       (Id. at 19.)    Finally, in the event

that the court finds any of the aforementioned evidence

inadmissible as direct evidence, the government moves to admit

such evidence as “other act” evidence pursuant to Federal Rule

of Evidence 404(b).      (Id. at 23.)

            Defendants oppose the admission of the proffered

evidence primarily on grounds that: (1) the evidence is

inadmissible as direct evidence because the underlying acts did

not arise out of the same transactions charged, are not

inextricably intertwined with evidence of the charged offenses,

and are not necessary to complete the story of the crimes

charged in this case; (2) even if the evidence is relevant, the

danger of unfair prejudice outweighs its probative value because

the proposed evidence is more serious than the charged crimes;

(3) the proffered evidence would be unnecessarily cumulative for

                                    10
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 11 of 66 PageID #:
                                    1812


purposes of establishing a relationship among the defendants or

as background to the conspiracy because seizures, video

recordings and cooperating witnesses are available to prove the

same; and (4) some evidence may have pre-dated the charged

conspiracy, which is alleged in the Superseding Indictment to

have begun in approximately November 2006.         (See Barret’s Second

Opp’n at 3-4; Jones Opp’n at 1; ECF No. 318, Letter Brief in

Opposition by Omar Mitchell (“Mitchell Opp’n”) at 1; Scarlett

Opp’n at 6-10.)

        A. Legal Standard

           It is well settled in the Second Circuit that where an

indictment contains a conspiracy charge, “[a]n act that is

alleged to have been done in furtherance of the alleged

conspiracy” is considered “part of the very act charged.”

United States v. Diaz, 176 F.3d 52, 79 (2d Cir. 1999) (internal

quotation marks and alterations omitted); see United States v.

Thai, 29 F.3d 785, 812 (2d Cir. 1994) (in conspiracy cases,

“uncharged acts may be admissible as direct evidence of the

conspiracy itself”).      Consequently, evidence of uncharged

criminal conduct is relevant and not considered “other crimes”

evidence under Federal Rule of Evidence 404(b) (“Rule 404(b)”)

if the uncharged conduct “arose out of the same transaction or

series of transactions as the charged offense, if it is

inextricably intertwined with the evidence regarding the charged

                                    11
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 12 of 66 PageID #:
                                    1813


offense, or if it is necessary to complete the story of the

crime on trial.”     United States v. Khan, 591 F. Supp. 2d 202,

205 (E.D.N.Y. 2008) (quoting United States v. Carboni, 204 F.3d

39, 44 (2d Cir. 2000)); see United States v. Nektalov, 325 F.

Supp. 2d 367, 370 (S.D.N.Y. 2004) (same).

             Acts of violence are frequently deemed to have been

performed as overt acts in furtherance of, and thus are direct

evidence of, an alleged drug distribution conspiracy.            The

Second Circuit has recognized that “[b]ecause narcotics

conspiracies are illicit ventures, disputes are frequently

settled by force or the threat of force” and that “advancing the

aim of a narcotics conspiracy can involve performing ancillary

functions such as . . .      enforcing discipline and chastising

rivals.”   United States v. Santos, 541 F.3d 63, 72 (2d Cir.

2008) (quoting United States v. Soto-Beníquez, 356 F.3d 1, 18

(1st Cir. 2003)); see United States v. Sureff, 15 F.3d 225, 228-

29 (2d Cir. 1994) (noting that “drug trafficking is often

attended by violence”); Khan, 591 F. Supp. 2d at 205

(“Intimidation, violence, and the payment of debts is generally

understood to be intertwined with the management and operation

of narcotics conspiracies. . . .”).

           Moreover, the Second Circuit has noted that

“[v]iolence furthers such a conspiracy when used to collect

debts directly . . . or [to] send[] the message that those
                                    12
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 13 of 66 PageID #:
                                    1814


suspected of stealing from the conspiracy would be treated

harshly.”    Santos, 541 F.3d at 72 (internal citation and

quotation marks omitted).      In addition, “testimony about violent

acts and firearm possession during or around the time of a

narcotics conspiracy appropriately establishe[s a co-

conspirator’s] conduct during the charged conspiracy.”            United

States v. Gadsden, 300 F. App’x 108, 110 (2d Cir. 2008).

            Although relevant, evidence of uncharged acts may

nonetheless be inadmissible pursuant to Federal Rule of Evidence

403 if “its probative value is substantially outweighed by a

danger of . . . unfair prejudice.”        Fed. R. Evid. 403; see also

United States v. Bourne, No. 08-CR-888, 2011 WL 4458846, at *12

(E.D.N.Y. Sept. 23, 2011) (“Evidence of uncharged acts may be

admissible, subject to limitations imposed by Rule[] 403 . . .

.”).   “The term ‘unfair prejudice,’ as to a criminal defendant,

speaks to the capacity of some concededly relevant evidence to

lure the factfinder into declaring guilt on a ground different

from proof specific to the offense charged.”           Old Chief v.

United States, 519 U.S. 172, 180 (1997).        To determine whether

evidence is unduly prejudicial, the court considers it in the

context of the crime alleged.       Evidence shall be excluded as

unduly prejudicial when it is “more inflammatory than the

charged crime.”     United States v. Livoti, 196 F.3d 322, 326 (2d

Cir. 1999); cf. United States v. Pitre, 960 F.2d 1112, 1120 (2d

                                    13
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 14 of 66 PageID #:
                                    1815


Cir. 1992) (finding no unfair prejudice where “evidence of prior

narcotics transactions ‘did not involve conduct any more

sensational or disturbing than the crimes with which [the

appellants were] charged.’”) (quoting United States v. Roldan–

Zapata, 916 F.2d 795, 804 (2d Cir. 1990)).

        B. Application

              1. Forrest’s 2007 Conviction for Possession of
                 Marijuana

           The government seeks to admit evidence that Forrest

was convicted in September 2007 of Criminal Possession in the

Fifth Degree in Kings County Criminal Court as direct evidence

on grounds that the conviction “proves that within the time

frame of the conspiracy Forrest actually possessed the type of

controlled substance he is charged with conspiring to distribute

and possess with intent to distribute.”        (Gov’t Mem. at 13, 18.)

In opposition, Forrest argues that the prior conviction is

irrelevant to the issue of Forrest’s purported participation in

the charged narcotics distribution conspiracy because the

misdemeanor conviction arose in the context of an incident in

which Forrest was smoking marijuana.        (ECF No. 301, Letter Brief

in Opposition by Kareem Forrest (“Forrest Opp’n”) at 2.)

           Possession of marijuana in the fifth degree is a class

B misdemeanor under New York State Penal Law, which prohibits

possession of marijuana that is “burning or open to public view”

                                    14
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 15 of 66 PageID #:
                                    1816


in a public place or possession of a mixture or compound of

marijuana in an aggregate weight of more than twenty-five grams.

NYPL § 221.10.    The court finds that Forrest’s use of such a

limited quantity of marijuana is not probative of whether he

possessed marijuana for purposes of distributing the same in

furtherance of the charged conspiracy, particularly in light of

the government’s allegations that he was a “top lieutenant” in

Barret’s crew who was “heavily involved” in controlling,

weighing, packaging and distributing large quantities of

marijuana.    (Gov’t Mem. at 7.)     Therefore, the court denies the

government’s motion to introduce evidence of Forrest’s prior

misdemeanor possession as direct evidence of the crimes with

which he is charged.      Moreover, as discussed infra in Section

III.B.3.a, the court finds this evidence inadmissible as “other

act” evidence under Rule 404(b).

               2. Attempted Murder

           The government seeks to introduce evidence that in

2009, at Barret’s behest, two soldiers planned an ambush to kill

a rival who refused to work for Barret, and as a result, both

the rival and his driver were shot.        (Gov’t Mem. at 9.)      The

government alleges that Barret ordered this murder because he

“wanted everyone in Queens to sell marijuana for his crew” and

he employed violence against those who refused to cooperate with

his efforts.    (Id.)
                                     15
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 16 of 66 PageID #:
                                    1817


           The court finds that evidence of an order from Barret

to his soldiers to murder of one of Barret’s rivals is relevant

as direct evidence of the conspiracy because it shows the nature

and existence of the conspiracy as well as Barret’s leadership

in the organization.      See United States v. Miller, 116 F.3d 641,

682 (2d Cir. 1997) (finding no abuse of discretion in district

court’s conclusion that proof of murders of persons considered

to be threats to the gang was “relevant to show the existence

and nature of the enterprise and the conspiracy”); see also

Khan, 591 F. Supp. 2d at 205 (finding uncharged murders and

threats relevant to demonstrate defendant’s alleged leadership

role).   Furthermore, evidence that the rival and his driver were

shot during the course of the attempted murder is relevant as

direct evidence of Count Six of the Superseding Indictment,

which charges defendants with the possession and discharge of

guns in furtherance of the drug trafficking conspiracy.            (S-3

¶ 26.)

           Moreover, the court finds that the probative value of

this direct evidence outweighs the risk of prejudice.            “[C]ourts

in this circuit have repeatedly expressed disapproval of the

admission of uncharged criminal conduct that is ‘more serious

than the charged crime.’”      Khan, 591 F. Supp. 2d at 206 (quoting

United States v. Williams, 205 F.3d 23, 34 (2d Cir. 2000)).             In

Khan, for example, the court excluded evidence of an uncharged

                                    16
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 17 of 66 PageID #:
                                    1818


murder on grounds that it was overly prejudicial in a case

against the alleged head of a “powerful, violent, cocaine

trafficking organization.”       591 F. Supp. 2d at 205.      There, the

defendant was charged in an eighteen-count indictment that

included charges of “importation and possession of cocaine” and

“engaging as a . . . leader of a continuing criminal enterprise

in the Eastern District of New York and elsewhere.”           Id.   Even

though the Khan court found that the uncharged murder was

relevant as part of the crimes charged because “violence . . .

is generally understood to be intertwined with the management

and operation of narcotics conspiracies,” the court excluded the

evidence on grounds of undue prejudice because the defendant was

“not charged with any crimes of violence, intimidation or

firearms.”    Id. at 205-06.

            In contrast to Khan, all defendants in the instant

prosecution, except Manning, face charges of firearms and

violence.    Therefore, evidence of the 2009 incident does not

involve conduct that is “any more sensational or disturbing than

the crimes with which [defendants are] charged.’”           Pitre, 960

F.2d at 1120.    Accordingly, the court grants the government’s

motion to introduce evidence as to all defendants except

Manning, that Barret ordered his soldiers to kill a rival and

that the rival and his driver were shot by Barret’s soldiers as

a result.

                                    17
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 18 of 66 PageID #:
                                    1819


              3. 2009 Contract for Murder

           The government seeks to introduce evidence that in

retaliation for a perceived theft, Barret offered a thirty-pound

marijuana bounty for the murder of his former drug trafficking

partner, Marlon Jones, in 2009.       (Gov’t Mem. at 9.)      Barret

allegedly instructed his crew to kill Marlon Jones when Barret

was out of town so that he would have an alibi for the murder.

(Id.)   The government contends that as a result of Barret’s

“contract to murder,” one of Barret’s soldiers unsuccessfully

attempted to kill Marlon Jones in a night club just weeks before

Barret’s arrest.     (Id.)

           The same principles discussed above in Section II.B.2

apply to evidence of this alleged “contract” to kill Marlon

Jones, which the court finds to be “[no] more sensational or

disturbing than the crimes with which [defendants are]

charged.’”    Pitre, 960 F.2d at 1120.      Accordingly, the court

grants the government’s motion to admit evidence except as to

Manning regarding Barret’s alleged “contract” to kill Marlon

Jones as direct evidence of the charged crimes.

              4. Acts of Violence Asserted by Defendants

           The government seeks to introduce evidence of the

following shootings and other firearm-related acts of violence

that defendants allegedly “bragged about to other crew members”


                                    18
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 19 of 66 PageID #:
                                    1820


to “enhance their stature within the narcotics organization”:

(1) Scarlett allegedly “admitted to shooting a man named Jeff

British at a night club and confessed to shooting a sixteen-

year-old kid in front of an off-duty police officer just before

he left Jamaica”; (2) Anderson allegedly “admitted that he

carried guns and was involved in armed home invasion robberies”

to steal marijuana from rival drug dealers; and (3) Forrest

allegedly “admitted that he shot the man who stabbed his brother

in Brooklyn.”    (Gov’t Mem. at 10-11, 15.)

           Scarlett contends that such evidence should be

excluded because it is “highly prejudicial” and has “no

correlation to the marijuana conspiracy in this case.”

(Scarlett Opp’n at 9.)      He notes in particular that because the

alleged shooting of the sixteen-year-old occurred in Jamaica, it

“bears no relevance on either the domestic marijuana conspiracy

or the 924(c) count of this incident.”        (Id.)    Forrest opposes

introduction of his alleged admission because the government

does not specify the date on which Forrest allegedly made the

statement and does not “represent[] that this statement is

admissible as a co-conspirator statement under [Federal Rule of

Evidence] 801(d)(2)(E).”      (Forrest Mem. at 4.)

           Upon review of the government’s allegations, the court

finds that there is inadequate information to find that the

proffered evidence is relevant as direct evidence of the charged
                                    19
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 20 of 66 PageID #:
                                    1821


conspiracy.    The government’s memorandum does not specify the

dates on which Scarlett, Forrest or Anderson allegedly made the

aforementioned statements or the dates on which the underlying

events supposedly occurred.       In at least one instance, as

Scarlett notes, the shooting allegedly occurred in Jamaica and

pre-dated the charged conspiracy.        (See Scarlett Opp’n at 9;

Gov’t Mem. at 10-11.)      Moreover, the government does not contend

that any of the events underlying the statements made by

Scarlett, Forrest and Anderson relate to the alleged drug

conspiracy.    Accordingly, the court has no basis to conclude

that the underlying events “arose out of the same transaction or

series of transactions as the charged offense, . . . [are]

inextricably intertwined with the evidence regarding the charged

offense, or . . . [are] necessary to complete the story of the

crime on trial.”     Khan, 591 F. Supp. 2d at 205.

           In addition, to the extent that the government argues

that the defendants’ boasts of undated, uncharged acts of

violence were acts in furtherance of the conspiracy because

defendants bragged to “enhance their stature within the

narcotics organization” (see Gov’t Mem. at 15), the court finds

that the statements are remotely relevant at best, cumulative in

light of other available evidence, and overly prejudicial

because the underlying events may not be related to the charged

conspiracy.    Accordingly, the court denies without prejudice the

                                    20
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 21 of 66 PageID #:
                                    1822


government’s motion to introduce evidence of the aforementioned

shootings and other firearm-related acts of violence that

defendants allegedly “bragged about to other crew members.”

           For the same reasons, the court denies without

prejudice the motion to introduce the foregoing evidence

pursuant to Rule 404(b).

              5. Remaining Uncharged Crimes

           The government also seeks to introduce as direct

evidence of the charged conspiracy the following uncharged

criminal activity:       (1) Barret’s 2009 threat to kidnap the

family member of a marijuana distributor unless a debt was paid,

and the distributor’s partial payment in response to that

threat; (2) a March 15, 2010 gunfire exchange instigated by a

conflict over a drug deal between a rival crew and members of

Barret’s crew, who fired into a crowd to protect Barret and

helped Barret escape the scene with Gunter in a getaway car

driven by Jones; (3) Forrest’s possession of multiple guns,

which he regularly brandished to intimidate or threaten others

during the course of the conspiracy; (4) the use of firearms by

Barret, Forrest, Scarlett and Anderson to protect the delivery

of a marijuana shipment to the Barret Residence on October 7,

2010; (5) Barret’s numerous orders to crew members--particularly

Forrest and Scarlett--to severely beat and threaten one of


                                    21
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 22 of 66 PageID #:
                                    1823


Barret’s drug trafficking partners, Andre Wilson, over lost

money and drugs; (6) Barret’s threats to have someone shoot

Wilson and his crew if they refused to work for Barret or tried

to disassociate themselves from him and the “Fatherless Crew”;

(7) Barret’s assault against Mitchell a few days before Barret’s

October 7, 2010 arrest, over a drug debt and Barret’s handling

of profits gained through the alleged drug trafficking

conspiracy; (8) Barret’s post-arrest orders to non-incarcerated

members of his crew to “find out who the ‘snitch’ was that gave

him up” and threats made to those who were believed to be

cooperating with the government; and (9) Anderson’s involvement

in armed home invasion robberies to steal marijuana from rival

drug dealers. 15   (See Gov’t Mem. at 9-13.)

           The court finds that all of the aforementioned

uncharged offenses are overt acts performed in furtherance of

the conspiracy because each arose out of a drug trafficking-

related dispute or was otherwise motivated by a desire to

protect or enhance the conspiracy.        See Santos, 541 F.3d at

72 (“[A]dvancing the aim of a narcotics conspiracy can involve

performing ancillary functions such as . . .           enforcing

15
  The government also seeks to introduce evidence that Mitchell “always
carried a gun,” which he allegedly used, together with Scarlett, to rob a
truck driver in Queens for marijuana in 2003. (Gov’t Mem. at 11, Gov’t Reply
at 41.) Following Mitchell’s December 16, 2011 suppression hearing, counsel
for Mitchell requested and was granted an opportunity to submit additional
briefing regarding this evidence. (See Minute Entry dated 12/16/2011.)
Accordingly, the court will issue a separate decision regarding this alleged
robbery after the matter has been fully briefed.

                                     22
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 23 of 66 PageID #:
                                    1824


discipline and chastising rivals.”); see also Thai, 29 F.3d at

812–13 (finding evidence of uncharged robberies and assaults

admissible as direct evidence to show the “existence and

structure” of the conspiracy); United States v. Estrada, 320

F.3d 173, 183 (2d Cir. 2003) (noting that “the use of violence

to secure the organization’s drug turf [and] carrying and using

firearms to enforce its control over the drug market” are overt

acts of a narcotics conspiracy).

           Furthermore, the uncharged offenses that involved

firearms are directly relevant to Count Six of the Superseding

Indictment, which charges all defendants except Manning with

possessing, brandishing and discharging firearms in violation of

18 U.S.C. §§ 924(c)(1)(A)(i)-(iii).        (S-3 ¶ 26.)    In addition,

as the government notes, evidence of defendants’ use of firearms

during the course of the conspiracy would be relevant as direct

evidence of the conspiracy even in the absence of a gun charge

in the Superseding Indictment.       (Gov’t Reply at 34-35.)       See

United States v. Becerra, 97 F.3d 669, 671 (2d Cir. 1996)

(quoting United States v. Vegas, 27 F.3d 773, 778 (2d Cir.

1994)) (The Second Circuit has “repeatedly approved the

admission of firearms as evidence of narcotics conspiracies,

because drug dealers commonly keep firearms on their premises as

tools of the trade”).



                                    23
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 24 of 66 PageID #:
                                    1825


           Moreover, the court does not find that the danger of

unfair prejudice outweighs the probative value of the proffered

evidence because, unlike other proposed evidence discussed in

Sections II.B.2 and II.B.3 supra, the “evidence [does] not

involve conduct more inflammatory than the charged crime.”

Livoti, 196 F.3d at 326.      Accordingly, the court grants the

government’s motion in limine to introduce the uncharged

criminal activity discussed in this section as direct evidence

of the charged crimes.

   III. Admissibility of Proffered Evidence Pursuant to Rule
        404(b)

        A. Legal Standard

           Federal Rule of Evidence 404(b) governs the

admissibility of other crimes, wrongs, and acts evidence:

           Evidence of a crime, wrong, or other act is
           not admissible to prove a person’s character
           in order to show that on a particular
           occasion the person acted in accordance with
           the   character.      This   evidence   may  be
           admissible for another purpose, such as
           proving     motive,     opportunity,    intent,
           preparation,    plan,    knowledge,   identity,
           absence of mistake, or lack of accident.

Fed. R. Evid. 404(b).      The rule provides no explicit temporal

limitation regarding the relationship of the “other” crimes,

wrongs or acts to the offenses charged.        See id.    Thus, other

acts occurring before the offense charged are not excluded from

the scope of Rule 404(b).

                                    24
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 25 of 66 PageID #:
                                    1826


           The Supreme Court has set forth four requirements for

courts to follow in exercising their discretion under Rule

404(b): “Prior bad-acts evidence must be (1) offered for a

proper purpose, (2) relevant, and (3) substantially more

probative than prejudicial.       In addition, (4) at the defendant’s

request, the district court should give the jury an appropriate

limiting instruction.”      United States v. Downing, 297 F.3d 52,

58 (2d Cir. 2002) (citing Huddleston v. United States, 485 U.S.

681, 691–92 (1988)); United States v. Garcia, 291 F.3d 127, 136

(2d Cir. 2002) (similar).

           The Second Circuit has “adopted an inclusionary

approach to evaluating Rule 404(b) evidence.”          United States v.

Edwards, 342 F.3d 168, 176 (2d Cir. 2003); see also Garcia, 291

F.3d at 136 (same).      Under this inclusionary approach,

“uncharged bad acts may be admitted into evidence for any

relevant purpose other than propensity, provided that the

probative value of the evidence outweighs the danger of unfair

prejudice.”    United States v. Graziano, 391 F. App’x 965, 966

(2d Cir. 2010); see also Edwards, 342 F.3d at 176 (quoting

Garcia, 291 F.3d at 136) (stating that the inclusionary approach

“allows evidence to be received at trial for any purpose other

than to attempt to demonstrate the defendant’s ‘criminal

propensity’”).    Additionally, the district court has broad

discretion to admit evidence pursuant to Rule 404(b), and its

                                    25
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 26 of 66 PageID #:
                                    1827


ruling will not be overturned on appeal absent abuse of

discretion.    See Carboni, 204 F.3d at 44.       The court evaluates

the government’s request to admit evidence of “other acts” in

light of these considerations.

        B. Application

              1. Admissibility of Defendants’ Membership in the
                 “Fatherless Crew” in Jamaica and Barret and
                 Scarlett’s Incarceration with Clifton Williams

           The government seeks to admit evidence regarding the

membership of Barret, Anderson, Jones, Gunter and Scarlett in

the “Fatherless Crew” and Barret and Scarlett’s incarceration in

the General Penitentiary in Jamaica “to show the background of

the conspiracy and to explain the basis for the co-conspirators’

relationship of mutual trust.”       (Gov’t Mem. at 24-25.)       The

government also moves to introduce evidence regarding the

formation and operation of the “Fatherless Crew” in Jamaica on

grounds that “the currently charged continuing criminal

enterprise is, in essence, an expansion of the activity the

‘Fatherless Crew’ undertook in Jamaica,” as demonstrated by

(1) the overlap in membership, (2) continuing ties between the

Queens-based “Fatherless Crew” and its base in Jamaica,

(3) Barret’s delivery of funds and firearms to crew members in

Jamaica to support and sustain the foreign base and to hide

firearms used in the commission of crimes in the United States,



                                    26
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 27 of 66 PageID #:
                                    1828


and (4) the crew’s use of violence to expand and control

territory in both locales.       (Id. at 25-26.)

           The government also seeks to introduce evidence that

Barret and Scarlett were incarcerated in Jamaica with Clifton

Williams, who later became a marijuana supplier for Barret and

his crew during the course of the charged conspiracy.            (Id. at

26.)   The government alleges that Scarlett was a member of the

“Fatherless Crew” in Jamaica and one of Barret’s enforcers or

“soldiers” in the charged conspiracy, and that such evidence is

admissible pursuant to Rule 404(b) to explain how the three came

to participate in the charged conspiracy together.           (Id.)

           Barret, Jones and Scarlett object to admission of this

evidence on grounds that the “acts of violence in Jamaica” and

the “fact that rival ‘posses’ in Jamaica engaged in a rival war

in Kingston, Jamaica” pre-date, and therefore bear no relevance

to, the charged crimes, and that the “highly prejudicial” nature

of the evidence “far outweighs” any probative value.           (Barret’s

Second Opp’n at 2-3; Jones Opp’n at 1; Scarlett Opp’n at 6-8.)

Barret, Jones, Mitchell and Scarlett also argue that the

government’s true purpose in offering this additional evidence--

particularly the reference to “meeting at a foreign penitentiary

years before this incident”--would be to “improperly inflame the

passions of the jury and induce them to convict the defendants

on that impermissible basis.”       (Id.)   They also assert that the
                                    27
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 28 of 66 PageID #:
                                    1829


court should exclude such evidence because it would be

cumulative in light of the availability of seizures, video

recordings and cooperating witnesses to furnish evidence of the

co-conspirators’ relationship and background.          (Barret’s Second

Opp’n at 3-4; Jones Opp’n at 1; Mitchell Opp’n at 1; Scarlett

Opp’n at 6-9.)    Barret further contends that the government’s

proof is insufficient to support a finding that Barret actually

committed the extrinsic acts asserted by the government.

(Barret’s Second Opp’n at 4.)

           “[I]t is within the court’s discretion to admit

evidence of prior acts to inform the jury of the background of

the conspiracy charged, in order to help explain how the illegal

relationship between participants in the crime developed, or to

explain the mutual trust that existed between coconspirators.”

United States v. Rosa, 11 F.3d 315, 334 (2d Cir. 1993).            In

Rosa, the Second Circuit found no error in the district court’s

admission of evidence that (1) the founder of an organized drug

distribution conspiracy had known the defendant, his lieutenant,

for almost fifteen years; (2) the two had stolen cars together

as teenagers; and (3) the founder had once sold a few ounces of

heroin to the defendant’s then-partner in the drug trade.             Id.

at 333-34.    Rather, the Second Circuit held that “the evidence

of [defendant’s] prior dealings with [the founder] was properly

admitted to explain how the illegal relationship between the two

                                    28
Case 1:10-cr-00809-KAM    Document 372 Filed 12/21/11   Page 29 of 66 PageID #:
                                     1830


had developed and to explain why [the founder] had appointed

[defendant] to a leading position in the Organization.”             Id. at

334.

           The court finds that, except as limited below

regarding murders in Jamaica, evidence of Barret, Anderson,

Jones, Gunter and Scarlett’s membership in the “Fatherless Crew”

in Jamaica is relevant to help the jury understand the

historical development of the illegal relationships and levels

of trust among the co-conspirators, and the conspiracy itself.

See United States v. Pipola, 83 F.3d 556, 565-66 (2d Cir. 1996)

(finding no error in trial court’s admission of evidence of co-

conspirators’ prior acts, including “committing crimes including

armed robberies and a burglary, and using and selling stolen and

counterfeit credit cards,” because the challenged evidence

“explained to the jury how the relationship between Pipola and

his underlings evolved” and “made the . . . conspiracies to

commit armed robberies [later committed by the co-conspirators]

more plausible”).        Accordingly, the court finds that the

probative value of this background evidence significantly

outweighs any risk of prejudice that the evidence may pose.

           The court does find, however, that any proffered

evidence regarding the background and organization of the

“Fatherless Crew” that references murder in Jamaica prior to the

dates of the acts charged in the Superseding Indictment must be
                                     29
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 30 of 66 PageID #:
                                    1831


excluded because the probative value of such evidence is

significantly outweighed by the risk of prejudice to defendants

given the nature of the instant charges and the fact that such

alleged murders pre-dated the charged conspiracy.           “[P]rejudice

is informed by the crimes with which the defendant has been

charged.”    United States v. Sanpedro, 352 F. App’x 482, 485 (2d

Cir. 2009) (citing Roldan–Zapata, 916 F.2d at 804).

Accordingly, the court precludes the government from introducing

any Rule 404(b) evidence that references murder prior to the

dates of the charged conspiracy.

            Moreover, the court finds that evidence of the prior

incarceration of Barret and Scarlett in a foreign penitentiary

poses a danger of undue prejudice.        The jury will be left to

speculate as to Barret’s and Scarlett’s past criminal history,

which may result in an impermissible finding of a criminal

propensity.    Cf. United States v. Price, No. 05-CR-492, 2009 WL

973370, at *1 (E.D.N.Y. Apr. 10, 2009) (concluding that evidence

regarding prior periods of incarceration was “not unduly

prejudicial to the Defendant” in trial of defendant charged with

racketeering and racketeering conspiracy, murder, drug

trafficking, illegal use of a firearm, and witness tampering in

connection with his alleged participation in a criminal

organization).



                                    30
Case 1:10-cr-00809-KAM    Document 372 Filed 12/21/11   Page 31 of 66 PageID #:
                                     1832


           Accordingly, the government’s motion is granted in

part and denied in part.        The government may introduce evidence

regarding the formation and operation of the “Fatherless Crew”

and the membership of Barret, Anderson, Jones, Gunter and

Scarlett in the “Fatherless Crew.”         For the reasons stated

above, however, the government is precluded from introducing

evidence of (a) Barret and Scarlett’s prior incarceration in a

foreign penitentiary and (b) murders that occurred in Jamaica

that pre-date the charged conspiracy.

              2. Admissibility of Barret’s 2003 Attempt to Shoot a
                 Rival Drug Dealer

           The government seeks to introduce evidence that

“Barret discharged a firearm at a rival drug dealer in 2003,

which resulted in the death of an innocent bystander” when

Barret and two other members of the “Fatherless Crew” chased and

fired multiple shots at the rival.         (Gov’t Mem. at 26-27.)       The

government first contends that such evidence is relevant to show

“Barret’s knowledge that drug dealing is dangerous, which will

inform the jury as to why he carries a gun and has his enforcers

carry firearms,” and that it “provides evidence that he

possessed firearms and mandated that the other defendants

possess firearms in furtherance of the drug trafficking

activity.”    (Id.)      Second, the government asserts that such

evidence demonstrates Barret’s knowledge of firearms, which is


                                     31
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 32 of 66 PageID #:
                                    1833


probative of the fact that in 2010 he fired his gun at a rival

drug dealer, but not out of some mistake or accident.            (Id. at

26-28.)    Third, the government argues that “the fact that [in

the 2003 incident] Barret directed other members of the

‘Fatherless Crew’ to retaliate after a rival shot at him shows

Barret’s leadership position in the charged enterprise.”            (Id.

at 28.)    Fourth, the government states that the evidence is

probative to demonstrate Barret’s motive to harm rival drug

dealers.    (Id. at 26-27.)

            Barret’s arguments in opposition are set forth supra

in Section III.B.1.

            Notwithstanding the government’s arguments, the court

finds that the evidence regarding the 2003 sohoting, which

includes the death of an innocent bystander, poses a substantial

risk of prejudice that outweighs the probative value of such

evidence.    Moreover, in light of these in limine rulings--which

permit the introduction of evidence regarding multiple shootings

involving Barret, the use and discharge of firearms by numerous

co-conspirators, and evidence that the co-conspirators were

aware of the dangers attending the drug trafficking trade--the

court finds that there is sufficient other, “less prejudicial

evidence that makes the same point.”        United States v. Gotti,

399 F. Supp. 2d 417, 419 (S.D.N.Y. 2005) (citing Old Chief, 519

U.S. at 182-83).     Accordingly, the government’s motion to admit
                                    32
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 33 of 66 PageID #:
                                    1834


evidence of Barret’s attempt to shoot a rival drug dealer in

2003 and the resulting death of an innocent bystander is denied.

              3. Admissibility of Prior Convictions

           The government seeks to introduce evidence of various

prior convictions relating to (1) possession of marijuana;

(2) criminal sale of controlled substances; and (3) criminal

possession of a loaded firearm.       (Gov’t Mem. at 13-14, 22, 28-

31.)   The government argues that these prior convictions are

relevant to prove the defendants’ intent, knowledge and absence

of mistake during the charged offenses, particularly because

“many of the defendants have already raised an ‘innocent

association’ defense as evidenced by their moving papers and/or

arguments during detention hearings.”        (Id. at 28-29.)

           “Under [Federal Rule of Evidence] 404(b), evidence of

‘other crimes’ . . . though inadmissible to prove . . . criminal

propensity, may be admitted at trial to show that a defendant

who claims that his conduct had an innocent explanation had the

knowledge or intent necessary to commit the charged offense.”

United States v. Gordon, 987 F.2d 902, 908 (2d Cir. 1993).             The

Second Circuit’s inclusionary approach to Rule 404(b) evidence

“does not invite the government ‘to offer, carte blanche, any

prior act of the defendant in the same category of crime,’”

however.   United States v. McCallum, 584 F.3d 471, 475 (2d Cir.

2009) (quoting Garcia, 291 F.3d at 137).        Rather, the Second

                                    33
Case 1:10-cr-00809-KAM    Document 372 Filed 12/21/11   Page 34 of 66 PageID #:
                                     1835


Circuit has instructed that the third Huddleston prong, the

probative-prejudice balancing analysis, demands “particularly

searching, conscientious scrutiny” in the context of prior

crimes evidence because such evidence poses a severe risk of

unfair prejudice.        Id. at 476.   Indeed, when conducting this

evaluation, the district court must remain attentive to the

potential for “undermin[ing] the fairness of the trial” with

“classic, and powerful, evidence of propensity.”           Id. at 477.

Thus, even where a defendant has not conceded the issues of

knowledge or intent, where abundant other evidence of guilt

exists, a district court may not casually admit evidence for the

“ostensible” purpose of proving knowledge and intent without

confirming that those issues are seriously in dispute.             Id.

                    a. Admissibility of Prior Possession
                       Convictions

           The government moves to admit evidence of Forrest’s

2007 conviction for possession of marijuana in the fifth degree

in Kings County Criminal Court.         (Gov’t Mem. at 13, 18.)      As

discussed supra in Section II.B.1, this violation is a class B

misdemeanor under New York State Penal Law, which prohibits

possession of marijuana that is “burning or open to public view”

in a public place or possession of a mixture or compound of

marijuana in an aggregate weight of more than twenty-five grams.

NYPL § 221.10.


                                       34
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11    Page 35 of 66 PageID #:
                                    1836


           The government also moves to admit evidence of

Anderson’s 2005 conviction in Pennsylvania State Court for

possession of drug paraphernalia and possession of marijuana.

(Gov’t Mem. at 29-31.)      According to the government, Anderson’s

conviction stemmed from an incident in which Anderson was the

passenger in a van that was carrying seventy pounds of

marijuana.    (Id. at 29-30.)     When police stopped the van,

Anderson allegedly told them that he “was aware the driver of

the van transported marijuana along the route they were

traveling and was aware there was something in the car on that

day.”   (Id. at 30.)     Anderson was also found to have a plastic

bag containing one gram of marijuana on his person.            (Id.)

           The government argues that the resulting conviction

and Anderson’s statements upon his arrest show his familiarity

with both marijuana and marijuana trafficking and constitute

evidence of his intent in connection with the charged

conspiracy.    (Id.)     Anderson disputes the alleged conviction and

contends that “his arrest in 2006 16 in Pennsylvania resulted in a

fine for possession of 1 gram of marijuana on his person” and

that “[t]he arrest charges were dismissed against [Anderson] and

pursued by the Commonwealth against two other individuals.”


16
  Although the government and Anderson dispute the year of Anderson’s arrest
for marijuana possession, the facts proffered by both parties--particularly
the site of the arrest and the involvement of one gram of marijuana found on
Anderson’s person--suggest that the parties are referring to the same
incident.

                                     35
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11    Page 36 of 66 PageID #:
                                    1837


(ECF No. 300, Affirmation of Barry Turner (“Turner Aff.”) at

4. 17)   Moreover, Anderson claims that the prior act is irrelevant

because he did not know Barret in 2006; rather, he met Barret in

2008, two years after his arrest in Pennsylvania.            (Id.)

            The court finds that the foregoing possession

incidents regarding Forrest and Anderson are inadmissible

pursuant to Rule 404(b) because they are insufficiently similar

to the distribution and distribution conspiracy charges at

issue.    In so finding, the court takes guidance from United

States v. Gordon, 987 F.2d 902 (2d Cir. 1993).           There, defendant

Gordon faced charges of importing, conspiring to import, and

possessing cocaine with intent to distribute crack cocaine after

he was arrested at an airport where he had intended to pick up a

passenger, Ghullkie, who was found to have 1,493 grams of

cocaine on his person.      Id. at 904-05.      Gordon claimed

innocence, alleging that he had never seen Ghullkie before and

that he had gone to pick up Ghullkie only upon instructions from

a friend.    Id. at 905.    Before trial, the district court ruled

that evidence of Gordon’s arrest sixteen months earlier, for

possession of crack, was relevant to the issue of knowledge and

that its probative value outweighed the risk of prejudice to

Gordon.    Id at 905-06.


17
  As this document was not paginated, the page number indicated here
corresponds to the page number assigned by the Electronic Case Filing system.

                                     36
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 37 of 66 PageID #:
                                    1838


           At trial, a detective testified that Gordon was

carrying 3.8 grams of crack cocaine at the time of his prior

arrest; that a search of his house revealed a triple-beam scale,

which is often used by narcotics distributors; and that he was

suspected of being a crack supplier.        Id. at 906.     In addition,

the trial court “painstakingly and repeatedly instructed the

jury that the detective’s testimony was . . . [admitted] only to

show that [Gordon] had knowledge with regard to cocaine and the

. . . events with which he was charged and that his role in

those events was not the result of accident or mistake.”            Id.

           Nevertheless, on appeal, the Second Circuit found

that, notwithstanding the district court’s jury instruction, the

district court had abused its discretion by admitting evidence

of Gordon’s prior arrest for crack possession because “the April

1990 crack possession itself did virtually nothing to prove that

Gordon knew Ghullkie was importing narcotics.”          Id. at 909.

First, the Circuit Court reasoned, “Gordon’s April 1990

possession did not involve Ghullkie.”        Id.   Second, “[t]hough

cocaine was involved on both occasions, the amount involved in

the 1990 possession, i.e., less than 4 grams, was not at all

similar to the quantity Ghullkie brought in, i.e., 1.5

kilograms.”    Id.   Finally, “in any event, the probative value of

the crack possession was easily outweighed by its potential for



                                    37
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 38 of 66 PageID #:
                                    1839


unfair prejudice and the evidence therefore should have been

excluded under Rule 403.”      Id.

           Likewise, the court finds that Forrest’s conviction

for possession of marijuana in the fifth degree is

insufficiently similar to the charged acts because the amount

involved, 25 grams or less, is not at all similar to the charged

conspiracy, which involves more than 1000 kilograms of

marijuana.    The facts as alleged in the criminal complaint

describe much larger quantities of marijuana; on October 7, 2010

alone, law enforcement agents seized 100 kilograms from Barret’s

home.   (ECF No. 276, Government’s Opposition to Defendants’ Pre-

Trial Motions, Appendix B, Criminal Complaint (“Compl.”) ¶ 16.)

Moreover, the government has not shown that Forrest’s prior

conviction related in any way to his co-defendants.

           With respect to Anderson’s prior conviction or arrest,

the government acknowledges that the amount of marijuana found

on Anderson’s person in Pennsylvania was one gram, which is more

indicative of possession for personal use, rather than for

distribution.    (Gov’t Mem. at 30.)      Moreover, the government has

not refuted Anderson’s contention that the incident pre-dated

Anderson’s acquaintance with Barret.        Consequently, the court

finds inadequate facts to support a finding that Anderson’s

prior possession is sufficiently relevant to prove knowledge or

opportunity to distribute marijuana, or knowledge of the charged
                                     38
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11    Page 39 of 66 PageID #:
                                    1840


conspiracy with Barret or the other defendants.           See United

States v. Aminy, 15 F.3d 258, 260 (2d Cir. 1994) (quoting United

States v. Kasouris, 474 F.2d 689, 692 (5th Cir. 1973)

(“Similarity, being a matter of relevancy, is judged by the

degree in which the prior act approaches near identity with the

elements of the offense charged.          There is no necessity for

synonymity but there must be substantial relevancy . . . .”).)

           Accordingly, the court denies the government’s motion,

pursuant to Rule 404(b), to admit evidence of (a) Forrest’s 2007

conviction for possession of marijuana in the fifth degree or

(b) Anderson’s arrest and/or conviction for possession of

marijuana.

                    b. Admissibility of Scarlett’s Prior Sale
                       Conviction

           The government also seeks to introduce evidence of

Scarlett’s 2006 conviction for criminal sale of a controlled

substance in the third degree 18 in Queens County Supreme Court on

grounds that such evidence demonstrates his “knowledge and

intent to be engaged in marijuana trafficking.”           (Gov’t Mem. at

13-14, 30.)

           In opposition, Scarlett contends that the conviction

should be excluded because it was a “routine street sale with
18
  Under New York Penal Law § 220.39, a person is guilty of criminal sale of a
controlled substance in the third degree, a class B felony, when he knowingly
and unlawfully sells a narcotic drug.


                                     39
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 40 of 66 PageID #:
                                    1841


none of the signature events that are comparable to this case,”

and the risk of prejudice outweighs the probative value of such

evidence because the 2004 incident pre-dated the charged

conspiracy and did not involve any co-defendants in this case.

(Scarlett Opp’n at 12.)      He further argues that the prior

conviction bears “no factual similarity” to the instant

indictment because the conviction arose out of Scarlett’s sale

of a “relatively small quantity of cocaine to an undercover

officer,” and involved a different drug than that at issue in

this case.    (Id. at 12-13.)

           The court finds Scarlett’s arguments persuasive.

“Similarity, being a matter of relevancy, is judged by the

degree in which the prior act approaches near identity with the

elements of the offense charged.         There is no necessity for

synonymity but there must be substantial relevancy . . . .”

Aminy, 15 F.3d at 260 (quoting Kasouris, 474 F.2d at 692).

Relevant factors in comparing the similarity of a prior drug

conviction with the charged offense include the quantities of

narcotics involved, whether the narcotics were of the same type,

and the temporal proximity of the two events.          Aminy, 15 F.3d at

260 (noting that in Gordon, 987 F.2d at 906–09, the Second

Circuit found abuse of discretion in district court’s admission

of Rule 404(b) evidence of defendant’s possession of a small

quantity of narcotics because “not only was there a disparity

                                    40
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 41 of 66 PageID #:
                                    1842


between the quantities of narcotics involved, but the narcotics

were of different types and the other-act possession had

occurred some 16 months before the events at issue”); see also

Garcia, 291 F.3d at 138 (“[t]he [long] length of time between

the events and the substantial difference in quantities involved

detract from any potential probative value of the prior

conviction” for purposes of Rule 404(b)).

           Here, there is no clear indication of the amount of

narcotics involved in the 2004 incident, other than it involved

a “hand to hand” sale of a drug, thus indicating a smaller

quantity than the kilogram quantities charged here.           (Scarlett

Opp’n at 13.)    It is clear, however, that the 2004 conviction

arose from Scarlett’s sale of cocaine, which is entirely

different from the distribution of marijuana at issue in the

instant case.    Moreover, the prior conviction occurred two years

before the beginning of the charged conspiracy.          Accordingly,

the court finds that Scarlett’s prior conviction for sale of

cocaine is inadmissible as “other act” evidence pursuant to Rule

404(b) because it is insufficiently similar and therefore

irrelevant.

                    c. Admissibility of Jones’ Prior Sale
                       Conviction

           The government also seeks to introduce evidence

relating to Jones’ 2004 conviction for criminal sale of

                                    41
Case 1:10-cr-00809-KAM    Document 372 Filed 12/21/11   Page 42 of 66 PageID #:
                                     1843


marijuana in the fourth degree 19 in Queens County Criminal Court,

alleging that such evidence demonstrates his “knowledge and

intent to be engaged in marijuana trafficking.”           (Gov’t Mem. at

30.)

           Where a prior conviction is offered for the purpose of

establishing a defendant’s knowledge or intent, the government

must “identify a similarity or connection between the two acts

that makes the prior act relevant to establishing knowledge of

the current act.”        McCallum, 584 F.3d at 475 (quoting Garcia,

291 F.3d at 137); Garcia, 291 F.3d at 137 (“[I]f the government

cannot identify a similarity or some connection between the

prior and current acts, then evidence of the prior act is not

relevant to show knowledge and intent.”).

           In United States v. Zackson, 12 F.3d 1178 (2d Cir.

1993), for example, the Second Circuit found that proof of a

defendant’s previous partnership with a co-conspirator in a

marijuana distribution conspiracy was highly probative of his

intent to “enter another drug conspiracy [for sale of cocaine]

with the same co-conspirator” and to rebut the claim that the

defendant’s association with that person was an innocent one.

Id. at 1182 (emphasis added).        Similarly, in Pitre, the Second

Circuit upheld the admission of evidence of prior narcotics


19
  Under New York Penal Law § 220.40, criminal sale of marijuana in the fourth
degree is a class A misdemeanor.

                                     42
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 43 of 66 PageID #:
                                    1844


transactions involving the same co-conspirators as those

involved in the crimes charged.       60 F.2d at 1117–20.      “Absent

such pertinent similarities or connections between the two acts,

however, other act evidence is not relevant and should not be

received in evidence.”      Edwards, 342 F.3d at 177; see Gordon,

987 F.2d at 908 (“[E]vidence that the defendants had previously

participated in similar drug transactions with the same

coconspirators is properly admitted to show that the defendants

had knowledge of the conspiracy charged.”)

           For example, the Second Circuit held in Garcia that

admission of a prior conviction for sale of cocaine was abuse of

discretion because the government did not establish that the

prior conviction was “meaningfully probative of [the

defendant’s] knowledge” with respect to the charged narcotics

conspiracy.    291 F.3d at 138.     Specifically, the Second Circuit

found that “[t]he only similarity between the two drug

transactions . . . [was] that both involved cocaine” and apart

from that, “[t]he government did not offer evidence of any other

similarity or connection between the two transactions,” such as

a proffer that “the earlier transaction . . . involved the same

people.”   Id.

           Similarly, in the instant case, the government has not

demonstrated a significant connection between Jones’ prior

narcotics sale and the charged conspiracy.         The facts available
                                    43
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 44 of 66 PageID #:
                                    1845


to the court closely mirror those in Garcia, because “[t]he only

similarity between the two drug transactions . . . [is] that

both involved [marijuana].”       291 F.3d at 138.     Because the

government has not shown similarity in the quantity of drugs,

identity of participants or location of the alleged

transactions, the court finds that the prior conviction is

irrelevant to the charged conspiracy.

           The court acknowledges that Jones’ prior conviction

for criminal sale of marijuana in the fourth degree meets

certain 404(b) criteria because it is relevant to the

distribution charge (Count Five), involves the same drug at

issue in the instant prosecution, and shows Jones’ access to

drugs and knowledge of drug distribution.         Nevertheless, the

court finds that the risk of prejudice outweighs the probative

value of such evidence.      The Second Circuit has warned that

“[w]here prior convictions are concerned, the line between

intent or knowledge and character or propensity is often a fine

one, requiring the thoughtful, focused attention of the district

court” because “the introduction of prior convictions, unless

carefully handled, will undermine the presumption of innocence.”

McCallum, 584 F.3d at 475.       Specifically, there is concern that

“[d]espite the most careful instructions from the court, . . .

jurors are likely to believe that if a defendant previously was

convicted of drug offenses, there is a high probability that he

                                    44
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 45 of 66 PageID #:
                                    1846


is guilty of the drug offense for which he is on trial.”            Id. at

476.   “Moreover, prior convictions are far more likely to be

received as potent evidence of propensity than other prior bad

acts routinely offered under Rule 404(b) because they bear the

imprimatur of the judicial system and indicia of official

reliability.”    Id.

           Accordingly, the court denies the government’s motion

to admit pursuant to Rule 404(b) evidence of Jones’ prior

conviction for criminal sale of marijuana in the fourth degree.

                    d. Prior Firearm Possession Convictions

           The government seeks to introduce evidence of Barret’s

2003 conviction for attempted criminal possession of a loaded

firearm and Scarlett’s 2004 conviction for criminal possession

of a loaded firearm in the third degree in Queens County Supreme

Court to show their “intent and knowledge of firearms and

[their] access to weapons.”       (Gov’t Mem. at 13-14, 31.)

           Barret contends that the prior conviction should be

excluded because it is “totally unrelated and occurred before

the existence of the conspiracy in this indictment.”           (Barret’s

Second Opp’n at 3.)

           Scarlett asserts that the Queens County criminal file

reveals that his 2004 firearms conviction stemmed from the

discovery of a loaded gun on Scarlett’s person when police


                                    45
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 46 of 66 PageID #:
                                    1847


accosted him in response to a report of a domestic disturbance,

not a drug deal.     (Scarlett Opp’n at 11.)      Because Count Six of

the Superseding Indictment explicitly references possession of

guns during and in relation to drug trafficking, Scarlett

contends that his prior firearm conviction has little probative

value and is “highly prejudicial and inflammatory.”           (Id. at 11-

12.)

           The court finds that the proffered firearms conviction

evidence as to Barret and Scarlett is relevant to the issues of

opportunity, absence of mistake and access to firearms.            Here,

as in United States v. Barris, 377 F. App’x 93 (2d Cir. 2010),

defendants are charged with, inter alia, possessing a firearm in

furtherance of the drug trafficking conspiracy.          See id. at 95.

In Barris, the Second Circuit noted that evidence of the

defendant’s prior conviction for firearms possession “was not

contrary to Federal Rule of Evidence 404(b)” because it was

“relevant to the firearms possession charged here and to

[defendant’s] relationship with [his] alleged co-conspirator”

and had “obvious probative value” to the firearms possession

charge.   Id. at 95-96; see United States v. Taylor, 767 F. Supp.

2d 428, 438 (S.D.N.Y. 2010) (finding government sufficiently

identified “a similarity or some connection between the prior

and current acts” for Rule 404(b) purposes because defendant’s

prior conviction for possession of a firearm was for the same

                                    46
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 47 of 66 PageID #:
                                    1848


criminal conduct charged, i.e., using a weapon during a crime of

violence, in violation of 18 U.S.C. §§ 924(c)(1)(A)(ii)).

Moreover, the court notes that the government seeks to offer

this evidence for proper, non-propensity purposes, to show

knowledge of firearms, intent and access to weapons.

           The court also finds that the probative value of the

evidence outweighs the risk of prejudice.         In so finding, the

court is mindful that “[e]vidence that the defendant in a

criminal case has committed other crimes is highly prejudicial,”

especially where, as here, “the other crime is identical to that

for which the defendant is on trial.”        United States v.

Nachamie, 101 F. Supp. 2d 134, 142 (S.D.N.Y. 2000).

Nevertheless, “evidence of prior crimes--especially crimes

nearly identical to those presently charged--may be offered for

the proper purpose of proving the defendant’s knowledge or

absence of mistake.”      United States v. Tsekhanovich, 251 F.

App’x 706, 707 (2d Cir. 2007); see Taylor, 767 F. Supp. 2d at

438 (finding evidence of defendant’s prior gun possession in

connection with different offense admissible under Rule 404(b)

because it was “directly relevant to the issue of opportunity

and absence of mistake and also admissible to demonstrate

[defendant’s] ability to access such a weapon”).

           Therefore, the court in its discretion finds that the

probative value of the prior convictions outweighs the
                                    47
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11    Page 48 of 66 PageID #:
                                    1849


prejudicial effects.      Accordingly, the government’s motion to

admit evidence of Barret and Scarlett’s prior firearm possession

convictions is granted.

   IV.   Leave to Cross-Examine Testifying Defendants Regarding
         Criminal Convictions

           The government seeks leave to cross-examine any

testifying defendants regarding their prior convictions for

impeachment purposes pursuant to Federal Rule of Evidence

609(a)(1).    (Gov’t Mem. at 34-36.)

           Before evidence of prior convictions may be admitted

at trial pursuant to Federal Rule of Evidence 609(a)(1), the

court must weigh the probative value of a prior conviction

against the prejudicial effect to the defendant.           Fed. R. Evid.

609(a)(1).    “To perform this balancing, the court must know the

precise nature of the defendant’s testimony, which is unknowable

when . . . the defendant does not testify.”            Luce, 469 U.S. at

41.

           Because it is presently uncertain that the government

will even have an opportunity to cross-examine the defendant,

the government’s motion is denied without prejudice with the

understanding that the government may renew its motion if it

becomes apparent that a defendant will take the stand at trial

and the precise nature of the testimony can be ascertained.



                                    48
Case 1:10-cr-00809-KAM    Document 372 Filed 12/21/11   Page 49 of 66 PageID #:
                                     1850


   V.    Anonymous and Partially Sequestered Jury

            The government moves for the empanelment of an

anonymous and partially sequestered jury.          (Gov’t Mem. at 3, 36-

49.)    Specifically, the government requests that “(1) the

identities of all prospective jurors--including names,

addresses, and places of employment--not be revealed to either

the parties or their attorneys; and (2) from the time each juror

is empaneled until the conclusion of the trial, the jurors be

escorted by representatives of the United States Marshals

Service to and from the courthouse each day and at all times

during recesses.”        (Id.)   At the court’s request, the government

submitted evidence in support of its assertions, including the

affidavit of Drug Enforcement Administration (DEA) Special Agent

Joelle Ando in support of its motion.         (See Ando Aff.).

            All defendants except Anderson filed briefs to oppose

the empanelment of an anonymous and partially sequestered jury,

primarily on grounds that:        (1) the defendants have not been

charged with jury tampering or obstruction of justice, (2) the

government has based its motion on conjecture regarding the

means and inclination of defendants to interfere with the

judicial process; (3) there has been no media interest in the

case and the mere possibility of future media interest does not

justify the empanelment of an anonymous and partially

sequestered jury; (4) the defendants’ interest in conducting a
                                      49
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 50 of 66 PageID #:
                                    1851


meaningful voir dire would be jeopardized if defendants did not

have access to the names, addresses and places of employment of

potential jurors; and (5) the use of partial sequestration would

instill fear in jurors and violate the defendants’ Sixth

Amendment right to a fair and impartial jury.          (See ECF No. 310,

Memorandum of Law Regarding in Limine Motion for an Anonymous

and Partially Sequestered Jury by Christopher Barret (“Barret’s

First Opp’n”) at 2-8; Forrest Opp’n at 4-6; Scarlett Opp’n at

17-18; Mitchell Opp’n at 1; Jones Opp’n at 1; see generally ECF

No. 308, Defendant Latoya Manning’s Memorandum of Law in

Opposition to Government’s Motion for an Anonymous and Partially

Sequestered Jury (“Manning Opp’n”).)

        A. Legal Standard

           “In resolving motions for anonymous and partially

sequestered juries, courts must balance ‘the defendant’s

interest in conducting meaningful voir dire and in maintaining

the presumption of innocence, against the jury’s interest in

remaining free from real or threatened violence and the public

interest in having the jury render a fair and impartial

verdict.’”    United States v. Khan, 591 F. Supp. 2d 166, 168

(E.D.N.Y. 2008) (quoting United States v. Quinones, 511 F.3d

289, 295 (2d Cir. 2007)).      The law is clear in this Circuit,

however, that “when genuinely called for and when properly used,

anonymous juries do not infringe a defendant’s constitutional

                                    50
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 51 of 66 PageID #:
                                    1852


rights.”   Thai, 29 F.3d at 800-01 (quoting United States v.

Vario, 943 F.2d 236, 239 (2d Cir. 1991)).

           Generally, a court should not order empanelment of an

anonymous jury without “(a) concluding that there is strong

reason to believe the jury needs protection, and (b) taking

reasonable precautions to minimize any prejudicial effects on

the defendant and to ensure that his fundamental rights are

protected.”    United States v. Paccione, 949 F.2d 1183, 1192 (2d

Cir. 1991).    Within those parameters, however, “the decision

whether or not to empanel an anonymous jury is left to the

district court’s discretion.”       Id.

           Courts in this Circuit typically consider the

following factors when determining whether the jury needs the

protection of anonymity:      “(1) the seriousness of the charges;

(2) the dangerousness of the defendant[s]; (3) the defendant[s’]

ability to interfere with the judicial process by [themselves]

or through [their] associates; (4) previous attempts to

interfere with the judicial process by the defendant[s] or

[their] associates; and (5) the amount of public and media

attention expected during the trial that might expose the jurors

to extraordinary pressures that could impair their ability to be

fair.”   United States v. Cacace, 321 F. Supp. 2d 532,

534 (E.D.N.Y. 2004); see Thai, 29 F.3d at 801; United States v.

Persico, 621 F. Supp. 842, 878 (S.D.N.Y. 1985).
                                    51
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 52 of 66 PageID #:
                                    1853


          B. Application

              1. An Anonymous Jury is Warranted

            Applying these principles to the instant case, the

court finds that the first two factors--the seriousness of the

charges and the dangerousness of the defendants--weigh in favor

of empanelment of an anonymous jury.        In United States v.

Barnes, the Second Circuit affirmed the use of an anonymous jury

in a fifteen-defendant trial in which the lead defendant was

charged with operating a “continuing criminal enterprise,”

numerous defendants were charged with conspiring to distribute

narcotics and one defendant was charged with carrying a firearm

during the commission of a federal felony.         604 F.2d 121, 130

(2d Cir. 1979).     The Circuit Court noted in particular that the

charges that defendants faced were “serious[:] the distribution

of massive quantities of narcotics on the streets of Harlem and

the South Bronx from which enormous profits were realized [in]

an operation which had continued over a period of years.”             Id.

at 134.    Likewise, defendants in the instant case face serious

charges; the Superseding Indictment alleges that defendants

participated in a lengthy narcotics distribution conspiracy and

that the majority of defendants possessed, brandished and

discharged firearms during the course of the drug trafficking

conspiracy.    (See S-3 ¶ 26.)




                                    52
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 53 of 66 PageID #:
                                    1854


           Moreover, the court finds ample evidence that the

defendants are dangerous.      Their “involvement with and

leadership of a criminal organization indicates [their]

propensity for violence.”      Khan, 591 F. Supp. 2d at 170-71; see

United States v. Wilson, 493 F. Supp. 2d 397, 400 (E.D.N.Y.

2006) (noting that “[d]efendant’s criminal history and his

participation in a large scale criminal enterprise without

question show that he is dangerous and weigh heavily in favor of

using an anonymous, partially-sequestered jury . . . .”).             A

number of defendants themselves concede that “members of the

group may have committed acts of violence against themselves or

against drug-dealing associates” (see Forrest Opp’n at 5) and

that “the historical use of violence by co-defendant Barret is

troubling” (see Scarlett Opp’n at 20).        The government’s

affidavit also indicates that Barret is the leader or “don” of

the “Fatherless Crew,” which has nearly one hundred members in

the United States, Jamaica, Canada and the United Kingdom, and

that his co-defendants are among his “armed enforcers.”            (Ando

Aff. ¶¶ 3-4.)    Moreover, the government submits that the

“Fatherless Crew” under Barret’s leadership “routinely use[s]

firearms, violence and intimidation to preserve and expand their

power.”   (Id. ¶ 5.)     Therefore, the second factor also weighs in

favor of empanelment of an anonymous jury.



                                    53
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 54 of 66 PageID #:
                                    1855


            The third and fourth factors, the ability of

defendants and their associates to interfere, and any previous

attempts to interfere, with the judicial process, weigh in favor

of an anonymous jury.      The government provides numerous examples

of threats and a sexual assault that defendants or their

associates have made against potential government witnesses

since October 7, 2010, when the majority of defendants were

arrested.

            For example, the government advises that immediately

after Barret’s arrest, he accused an individual (a confidential

source, or “CS1”) with whom he was incarcerated as being a

“snitch” and warned CS1 to remain silent because the individual

“still has family in Jamaica.”       (Ando Aff. ¶ 9.)     The government

submits that the volume at which Barret issued the threat

indicated that he intended to communicate the message to all of

the co-defendants with whom he was incarcerated.          (Id.)

Moreover, according to the government, CS1 received death

threats for several months after the October 2010 arrests, and

immediately moved away from his or her residence in December

2010, when CS1 saw two members of the “Fatherless Crew,” at

least one of whom was carrying a firearm, in front of CS1’s

residence in December 2010.       (Id. ¶ 10.)   Months later, several

members of the “Fatherless Crew” left a threatening note at the

business where CS1’s mother worked in Jamaica; the note said in

                                    54
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 55 of 66 PageID #:
                                    1856


sum and substance that CS1 was a “snitch” and would never live

to testify.    (Id. ¶ 11.)

           The government has also indicated that in late 2010, a

former marijuana distributor (a second confidential source, or

“CS2”) who previously worked for Barret’s crew received

threatening phone calls and text messages from members of the

“Fatherless Crew” who remained at large.        (Id. ¶ 13.)      In

addition, the government has provided the court with more than

thirty-five threatening text messages sent to CS2 and the mother

of his children, which included threats to kill them both.

(Id.; Gov’t Reply at 13-15.)       The text messages indicate, and

the mother of CS2’s children has confirmed, that in conjunction

with the threatening text messages, “four Jamaican men she did

not know came up to her on the street, pointed a gun at her face

and fondled her breasts while threatening to kill her if she did

not tell them the whereabouts of her boyfriend (CS2).”            (Ando

Aff. ¶ 14; Gov’t Reply at 13-15.)        Such allegations and the

proffered evidence demonstrate that although five defendants,

including Barret, are currently incarcerated, they possess the

means as well as the inclination to interfere with the judicial

process.

           Moreover, the argument that the third and fourth

factors weigh against empaneling an anonymous jury because

defendants have not been charged with jury tampering (see
                                    55
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11    Page 56 of 66 PageID #:
                                    1857


Barret’s First Opp’n at 6-8) is unavailing.            As another court in

this district has held, “to support a finding that an anonymous

jury is warranted, obstruction of justice need not relate to

prior jury tampering efforts, but instead may relate solely to

efforts to tamper with witnesses . . . .”         United States v.

Prado, No. 10-CR-74, 2011 WL 3472509, at *3 (E.D.N.Y. Aug. 5,

2011).   Consequently, “[a] court . . . may appropriately

consider a defendant’s propensity to threaten witnesses or

otherwise to tamper with the judicial process in evaluating the

need for an anonymous jury.”       Quinones, 511 F.3d at 296 n.6; see

United States v. Aulicino, 44 F.3d 1102, 1116-17 (2d Cir. 1995)

(upholding use of anonymous jury where defendants attempted to

tamper with witnesses); see also United States v. Blackshear,

313 F. App’x 338, 343 (2d Cir. 2008) (finding that “[i]t does

not seem unreasonable to infer that jurors might also be

threatened” by defendant previously found to intimidate

potential witnesses); Prado, 2011 WL 3472509, at *2 (granting

motion for anonymous and partially sequestered jury “in light of

defendants’ and their associates’ alleged history of witness

tampering . . . combined with their alleged membership in a

large-scale, violent gang with numerous members still at

liberty--who have both the means and a demonstrated willingness

to obstruct justice”).



                                    56
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 57 of 66 PageID #:
                                    1858


           The only factor that does not support empaneling an

anonymous jury is the amount of public and media attention that

this case has received and is expected to receive.           Defendants

correctly note that there has been little or no publicity

regarding this case despite many months of litigation.            (See

Scarlett Opp’n at 19; Forrest Opp’n at 5; Barret’s First Opp’n

at 8-9.)   Although the government cites numerous articles in

support of its contention that there has been “extensive prior

international and local media coverage” regarding this case (see

Gov’t Reply at 21-26), upon review of the articles, the court

notes that such media coverage does not weigh in favor of

empaneling an anonymous jury.       Many of the cited articles are

more than two (and as many as nine) years old and published

outside of the United States in publications or media outlets

such as Jamaican News Weekly, La Tribune des Antilles, The

Herald Scotland and BBC News.       (See id. at 21-24.)      Moreover,

the cited articles that were published in the New York area

discuss shootings in which some of the defendants allegedly

participated, but do not name or mention any of the defendants

or the “Fatherless Crew.”      (See id. at 24-25.)      Consequently,

the court disagrees with the government’s claim that these

examples of media attention demonstrate that “there is, in fact,

strong reason to believe that media coverage will surround the



                                    57
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11    Page 58 of 66 PageID #:
                                    1859


[instant] trial” and that “the current lack of specific press

attention is unlikely to last.”        (Id. at 24.)

            Nevertheless, because the amount of media attention is

merely one of several factors to be considered, courts have

empaneled anonymous juries even where a case has not generated

any publicity.     See, e.g., United States v. Melendez, 743 F.

Supp. 134, 138 (E.D.N.Y. 1990) (employing use of anonymous and

partially sequestered jury even though case attracted virtually

no publicity primarily in light of “serious allegations” that

“[t]here have been contracts to kill witnesses”).            After

considering the parties’ submissions and weighing all the

relevant factors as set forth above, the court in its discretion

finds that there is strong reason to believe that the jury needs

protection and that an anonymous jury is warranted. 20

            In addition, because “the same reasons that warrant

the use of an anonymous jury also warrant partial sequestration

of the jury,” Prado, 2011 WL 3472509, at *11, the court will

partially sequester the jury.        Specifically, the court will


20
  The fact that the allegations supporting empanelment of an anonymous jury
appear to stem exclusively from actions taken on Barret’s behalf or upon his
orders does not warrant a different result or violate the rights of other co-
defendants who will be tried with Barret, as Manning contends. (See Manning
Opp’n at 5.) “[W]here one co-defendant warrants an anonymous jury, the other
co-defendant’s due process rights are not violated by a refusal to sever.”
United States v. Scala, 405 F. Supp. 2d 450, 453 n.18 (S.D.N.Y. 2005); see
also Aulicino, 44 F.3d at 1116 (finding no error in empanelment of anonymous
jury even though government did not proffer evidence linking a co-defendant
in a conspiracy case to any efforts to obstruct justice).


                                     58
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 59 of 66 PageID #:
                                    1860


direct the United States Marshals Service to escort empaneled

jurors between the courthouse and a central undisclosed location

each day and at all times during recesses.         See, e.g., Paccione,

949 F.2d at 1191 (affirming district court’s partial

sequestration of jurors by “having the jurors transported at the

end of each trial day to an undisclosed central location from

which they could go home”); United States v. Antico, No. 08 CR

559, 2010 WL 2545877, at *5 (E.D.N.Y. June 11, 2010) (ordering

that anonymous jury be picked up and dropped off by the United

States Marshals at an undisclosed central location before and

after trial each day); United States v. Tomero, 486 F. Supp. 2d

320, 325 (S.D.N.Y. 2007) (same); United States v. Muyet, 945 F.

Supp. 586, 590 (S.D.N.Y. 1996) (same).

              2. Precautionary Measures

           Having found that the balance of relevant factors

weighs in favor of an anonymous and partially sequestered jury,

the court must “tak[e] reasonable precautions to minimize any

prejudicial effects on the defendant and to ensure that his

fundamental rights are protected,” United States v. Stewart, 590

F.3d 93, 124 (2d Cir. 2009) (citation omitted).          Such

precautions include “conducting a thorough voir dire and

providing the jurors with a plausible and nonprejudicial reason

for not disclosing their identities.”        United States v. Gotti,

459 F.3d 296, 345 (2d Cir. 2006) (citing Paccione, 949 F.3d at

                                    59
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 60 of 66 PageID #:
                                    1861


1183); see Prado, 2011 WL 3472509, at *5 (“reasonable

precautions” include “extensively questioning jurors during voir

dire to explore prospective jurors’ biases and providing the

jurors with a neutral explanation for the anonymity that does

not negatively implicate the defendants”).

                    a. Thorough Voir Dire

           The use of thorough questioning during the voir dire

process will ensure that the use of an anonymous jury does not

infringe on the defendants’ Sixth Amendment right to a fair and

impartial jury.     In United States v. Wong, for example, the

Second Circuit reviewed a district court’s decision to preclude

disclosure of the jurors’ names, addresses, and employers, and

to “question[] prospective jurors about their familiarity with

the case, the defendants and the crime scenes, and inquired

about their neighborhoods, marital status, employment, spouse’s

and children’s employment, education, organizational

affiliations, ethnicity, military service” and other matters.

40 F.3d 1347, 1377 (2d Cir. 1994).        The Second Circuit found

that the district court took “adequate precautions to safeguard

the defendants-appellants’ constitutional rights” and determined

that the “extensive voir dire adequately explored prospective

jurors’ bias as to issues in the case and as to the defendants,

and was more than sufficient to enable the defendants to

exercise their challenges meaningfully, and to obtain a fair and
                                    60
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11    Page 61 of 66 PageID #:
                                    1862


impartial jury.”     Id. (internal citations, alterations and

quotation marks omitted); see Vario, 943 F.2d at 241-42 (“[T]he

district court conducted a searching voir dire which

sufficiently enabled Vario to exercise his challenges

meaningfully and to obtain a fair and impartial jury.”).

           The court will adopt a similar approach in the instant

case.   In so ruling, the court notes that it is not an abuse of

discretion to withhold the jurors’ names, addresses and places

of work from the parties and their counsel.            See Vario, 943 F.2d

at 239-242 (finding no error in district court’s empanelment of

anonymous jury in which jurors did not reveal their names,

addresses, or places of work to the parties or counsel because

such limitations were reasonable in light of the court’s

“searching” voir dire that was “designed to uncover bias as to

issues in the cases and as to the defendant himself”); see also

Barnes, 604 F.2d at 142-43 (no error in voir dire procedure in

which “[b]oth the prosecutor and defense were equally in the

dark as to names and addresses of the prospective panelists”

because counsel for both parties “had an arsenal of information

about each person that was based on his responses to questions

concerning his own life, as well as his attitudes about the

issues that would arise in the case”).




                                    61
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 62 of 66 PageID #:
                                    1863


                    b. Neutral Explanation

             In addition, the court will offer to the jury a

neutral explanation similar to that which the Second Circuit

approved in United States v. Tutino, 883 F.2d 1125 (2d Cir.

1989):

           It is a common practice followed in many
           cases in the Federal court to keep the names
           and identities of the jurors in confidence.
           This is in no way unusual.          It is a
           procedure being followed in this case.

Id. at 1133.    Alternatively, the court proposes that the jury be

advised that for purposes of organization and convenience, the

court will assign numbers to each juror during the selection

process and trial, and will refer to jurors by number.            The

court will also advise the jurors that they will be escorted by

the United States Marshal Service to and from the courthouse

each day “to ensure a timely start to each day of what promises

to be a long trial,” United States v. Urso, No. 03-CR-1382, 2006

WL 1210886, at *3 (E.D.N.Y. 2006), and for the jurors’

convenience given the likelihood of inclement weather.            The

court finds that these explanations are both “plausible and

nonprejudicial,” as required by the Second Circuit.           See

Aulicino, 44 F.3d at 1116 (use of anonymous jury does not

infringe on defendants’ constitutional rights where court




                                    62
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 63 of 66 PageID #:
                                    1864


conducts a searching voir dire and gives jurors a “plausible and

nonprejudicial reason for not disclosing their identities”).

           The court finds that the foregoing procedures will

adequately address the need to protect the jury while minimizing

the effect of such measures on the jurors’ opinions of the

defendants.    Accordingly, the court grants the government’s

motion for an anonymous and partially sequestered jury.

   VI.   Barret’s Motion to Strike References to His Aliases

           In light of the Superseding Indictment, which includes

a “continuing criminal enterprise” charge, Barret renews his

motion to strike his aliases from the Superseding Indictment

pursuant to Federal Rule of Criminal Procedure 7(d) as “highly

prejudicial language.”      (See Barret’s Second Opp’n at 1.)         The

court previously denied Barret’s motion in its November 16, 2011

decision, which addressed the parties’ pre-trial motions.             (See

Order dated 11/16/2011, at 58-61.)        The court has reviewed the

Superseding Indictment and finds that the same reasons that

supported the court’s previous denial of Barret’s Rule 7(d)

motion continue to apply.      Accordingly, the court denies

Barret’s renewed motion to strike his aliases from the

Superseding Indictment.




                                    63
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 64 of 66 PageID #:
                                    1865


   VII. Renewal of Motions for Severance

           Anderson, Scarlett and Jones renew their motions for

severance.    (See Anderson Mem. at 5-6; Jones Opp’n at 1;

Scarlett Opp’n at 21-22.)      Anderson relies on the same grounds

he raised in his initial motion for severance.          (See Anderson

Mem. at 5-6; ECF No. 250, Defense’s Pretrial Motions and

Memorandum of Law in Support by Ryan Anderson.)          Scarlett

contends that severance is warranted in light of the

government’s recent revelation of the “extent of violence

employed by . . . Barret,” which Scarlett claims will “severely

prejudice[]” Barret’s co-defendants at a joint trial.            (Scarlett

Opp’n at 21.)    Scarlett also asserts that any limiting

instruction from the court would be “meaningless when a trial

jury listens to these violent acts purportedly committed by the

lead defendant,” including multiple shootings, a threat to

kidnap and orders to kill.       (Id.)

           As an initial matter, the court notes that the instant

in limine rulings--which preclude the introduction of

prejudicial evidence concerning certain murders that predate the

dates alleged in the Superseding Indictment and the death of an

innocent bystander--significantly reduce the risk of “spillover

prejudice” that Anderson and Scarlett contend will taint them in

a joint trial.    Furthermore, even in light of the government’s

anticipated proof at trial, which concededly includes numerous
                                    64
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 65 of 66 PageID #:
                                    1866


acts of violence, the court finds that severance is not

warranted for the reasons stated in the court’s November 16,

2011 decision.    (See Order dated 11/16/2011, at 14-27.)

Accordingly, Jones, Anderson and Scarlett’s renewed motions for

severance are denied.

                                CONCLUSION

           For the foregoing reasons, the court (1) GRANTS IN

PART and DENIES IN PART the government’s motion to admit

(a) certain acts allegedly committed by the defendants in

furtherance of the conspiracy and (b) Forrest’s 2007 marijuana

conviction, as direct evidence of the charged crimes; (2) GRANTS

IN PART AND DENIES IN PART the government’s motion to admit,

pursuant to Federal Rule of Evidence 404(b), evidence relating

to (a) defendants’ membership in a gang called the “Fatherless

Crew” in Jamaica prior to moving to the United States,

(b) Barret and Scarlett’s incarceration together with an

individual named Clifton Williams in the General Penitentiary in

Jamaica, (c) Barret’s 2003 attempt to shoot a rival drug dealer

which resulted in the death of an innocent bystander, and

(d) defendants’ prior convictions for marijuana and firearms

crimes; (3) DENIES WITHOUT PREJUDICE the government’s motion for

leave pursuant to Federal Rule of Evidence 609 to cross-examine

any defendants who elect to testify regarding their criminal



                                    65
Case 1:10-cr-00809-KAM   Document 372 Filed 12/21/11   Page 66 of 66 PageID #:
                                    1867


convictions; and (4) GRANTS the government’s motion for an

anonymous and partially sequestered jury.

           In addition, the court respectfully DENIES Barret’s

renewed motion to strike his aliases from the Superseding

Indictment as surplusage pursuant to Federal Rule of Criminal

Procedure 7(d).     The court also respectfully DENIES renewed

motions for severance from Anderson, Jones and Scarlett.

SO ORDERED.

Dated: December 21, 2011
Brooklyn, New York
                                   ___________/s/________________
                                   KIYO A. MATSUMOTO
                                   United States District Judge
                                   Eastern District of New York




                                    66
